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August 29, 2018



The Honorable Leo T. Sorokin
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, MA 02210

RE: Ross McLellan

Your Honor,
My name is David Le Penske, and I am writing to you today on behalf of my wife Cherie as well as our
three children, to share our unwavering support and personal perspectives of Ross McLellan for your
consideration.
We first met Ross and Lisa shortly after moving from Seattle in August of 2010. Moving across the
country and leaving our friends and family behind was certainly both exciting and emotional. We settled
in Hingham and rented a small Cape to embrace our new cultural beginnings. While Hingham has been a
wonderful community over the years, it was certainly challenging to arrive in a town where we were all
starting over. We literally moved into Hingham not knowing a soul and found it initially difficult to meet
people in town. My wife met Lisa through running and their friendship soon became our family’s
friendship with the McLellan’s. Over our 8 years of living here we both cherish our friendship and
deeply admire the lives they lead as husband and wife, father and mother, and as generous contributors to
their neighbors and community.
We could share so much with you, but one of our fondest recollections of Ross was when we were first
invited to attend the McLellans' annual 4th of July pool party in 2011. Ross and Lisa’s pool party is an
annual can’t miss event, filled with everything you would hope to find on the 4th of July, a back yard BBQ
of epic proportions with Ross manning the grill for a steady supply of hot dogs and cheese burgers that
are devoured by kids of all ages running around in wet swimsuits with spots of left over ketchup and
mustard on their faces. It’s a gathering of so many wonderful families in our community, all of whom
have been touched by Ross and Lisa. Ross literally and figuratively serves the quarterback of the entire
day. He has a wonderful sense of humor, knowledge of all things sports and a smile that makes you smile
wider just being around. After the food, Ross holds a competition in the pool for all the kids, which is the
highlight every year. He first playfully organizes 20 kids ranging in age from 5 years old to high school
into age appropriate groups. He then stands waist deep in the shallow end of the pool with a soft football,
and one by one each takes their turn stepping onto the diving board at the other end to time their jump
perfectly and catch the ball. Easy throws then become a bit more difficult as the rounds progress until
there is a champion boy and girl. Ross nearly has as much fun as the kids and thoughtfully provides
encouragement and a few second chances along the way, which makes every one of the kids participating
feel special. Once all of the age group champions are recognized, he then initiates the cannon ball
competition himself, and away we go! This year even the moms chose to compete. I must share with you
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